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                                       #: 1172



                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

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                                           )
 UNITED STATES OF AMERICA,                 )
                                           )       Case No. 1:08-cr-00039-SEB-MJD
      Plaintiff,                           )
                                           )
 v.                                        )       Motion to Reduce Sentence
                                           )       Pursuant to 18 U.S.C.
 DARRYL TAYLOR,                            )       § 3582(c)(1)(A)(i)
                                           )
      Defendant.                           )
                                           )
                                           )
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                                    EXHIBIT INDEX

                   Exhibit Name and Description                  Number of Pages

      Exhibit A: Sentence Monitoring Computation Data           4 pages

      Exhibit B: Inmate Education Data Transcript               4 pages

      Exhibit C: Letter of Support from Amanda Anderson         2 pages

      Exhibit D: Letter of Support from Lauren Taylor           2 pages

      Exhibit E: Amendments to the Sentencing Guidelines        16 pages

      Exhibit F: Denial Letter from the Warden                  2 pages

      Exhibit G: Inmate History – Work Detail                   2 pages

      Exhibit H: Letter of Support from Jonathan Ockletree      3 pages

      Exhibit I: Letter of Support from Janea Reaves            2 pages

      Exhibit J: Letter of Support from Daughter                2 pages

      Exhibit K: Inmate Discipline Data                         5 pages

      Exhibit L: FSA Recidivism Risk Assessment                 8 pages


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       Exhibit M: Male Custody Classification Form               2 pages



 Dated: March 5, 2024                           Respectfully Submitted,

                                                   /s/ John Gleeson
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